                          Case 3:24-cv-07589-JSC             Document 29   Filed 01/07/25     Page 1 of 20



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                    11                                    UNITED STATES DISTRICT COURT
                    12                                   NORTHERN DISTRICT OF CALIFORNIA
                    13                                       SAN FRANCISCO DIVISION

                    14    LESLIE BERLAND,                                    Case No. 3:24-cv-07589-JSC
                    15
                                            Plaintiff,                       DEFENDANTS’ NOTICE OF MOTION
                    16             vs.                                       AND MOTION TO DISMISS THE
                                                                             COMPLAINT’S SECOND CAUSE OF
                    17    X. CORP., ET AL.,                                  ACTION
                    18                                                       Hearing Date: March 6, 2025
                                            Defendants.
                    19                                                       Time: 10:00 a.m.
                                                                             Location: Courtroom 8
                    20                                                       Hon. Jacqueline Scott Corley

                    21                                                       Complaint Filed: November 1, 2024
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MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                  MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                                     COMPLAINT
                                                                                                       CASE NO. 3:24-cv-07589-JSC
                         DB1/ 154186909.2
                          Case 3:24-cv-07589-JSC           Document 29         Filed 01/07/25      Page 2 of 20



                     1             TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

                     2             Please take notice that on March 6, 2025 at 10:00 a.m. or as soon thereafter as counsel may

                     3    be heard, before the Honorable Jacqueline Scott Corley of the San Francisco Courthouse of the

                     4    above-captioned court, located at 450 Golden Gate Avenue, Courtroom 8, San Francisco, CA

                     5    94102, Defendants X Corp., f/k/a Twitter, Inc., X Holdings, Elon Musk, Lindsay Chapman, Dhruv

                     6    Batura, Brian Bjelde, and Twitter, Inc. Change of Control and Involuntary Termination Protection

                     7    Policy (collectively, “Defendants”) will, and hereby do, move this Court, pursuant to Fed. R. Civ.

                     8    P. 12(b)(6), for an order dismissing the Second Cause of Action of the Complaint for Severance

                     9    Benefits and Equitable Relief (ERISA), for Breach of Contract, and for Breach of the Implied
                    10    Covenant of Good Faith and Fair Dealing (“Complaint”) filed by Plaintiff Leslie Berland

                    11    (“Plaintiff”), for failure to state a claim upon which relief can be granted. This motion is based on

                    12    the following grounds:

                    13             The Second Cause of Action of the Complaint against Defendants Elon Musk, X Holdings,

                    14    X Corp., Lindsay Chapman, Dhruv Batura, and Brian Bjelde under ERISA § 510, 29 U.S.C. § 1140,

                    15    fails to state a claim because the only purported equitable relief Plaintiff seeks is not “equitable” or

                    16    “appropriate” and is not available to her on the facts alleged in the Complaint as a matter of law.

                    17    29 U.S.C. § 1132(a)(3).

                    18             Defendants request that the Court dismiss the Second Cause of Action without leave to

                    19    amend. This Motion to Dismiss is based on this Notice of Motion, the Memorandum of Points and
                    20    Authorities, the pleadings on file herein, and any other written or oral materials as may be presented

                    21    before the Court takes this Motion under submission.

                    22
                           Dated: January 7, 2025                                MORGAN, LEWIS & BOCKIUS LLP
                    23
                                                                                 By   /s/ Christopher Boran
                    24                                                                 Christopher Boran
                                                                                       Eric Meckley
                    25                                                                 Jeremy Blumenfeld
                    26                                                                 Abbey Glenn
                                                                                       Brian Sullivan
                    27                                                                 Dylan Rudolph

                    28                                                           Attorneys for Defendants
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 BOCKIUS LLP
                                                                           -1-         MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                                          COMPLAINT
                                                                                                            CASE NO. 3:24-cv-07589-JSC
                         DB1/ 154186909.2
                          Case 3:24-cv-07589-JSC                      Document 29                 Filed 01/07/25               Page 3 of 20



                     1                                                      TABLE OF CONTENTS

                     2                                                                                                                                           Page

                     3    I.       INTRODUCTION .............................................................................................................. 1
                     4    II.      ISSUES PRESENTED ........................................................................................................ 3
                     5    III.     RELEVANT BACKGROUND .......................................................................................... 3
                     6
                                   A.        The Plan .................................................................................................................. 3
                     7
                                   B.        Plaintiff, Her Administrative Claim and Appeal, And The Complaint .................. 4
                     8
                          IV.      THE SECOND CAUSE OF ACTION SHOULD BE DISMISSED BECAUSE
                     9             PLAINTIFF’S REQUESTED REMEDIES ARE NOT EQUITABLE OR
                                   AVAILABLE TO HER....................................................................................................... 6
                    10
                                   A.        Legal Standard ........................................................................................................ 6
                    11
                                             1.         Surcharge Is Not Available Because The Plan Is Exempt From
                    12
                                                        ERISA’s Fiduciary Provisions .................................................................... 7
                    13
                                             2.         Plaintiff’s Claims For Restitution And Disgorgement Are Not
                    14                                  Appropriate Equitable Relief .................................................................... 11

                    15                       3.         The Complaint’s Allegations Demonstrate That Plaintiff Cannot
                                                        Recover Front Pay Or Back Pay ............................................................... 13
                    16
                          V.       CONCLUSION ................................................................................................................. 14
                    17

                    18

                    19
                    20

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                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                  -i-             MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 ATTORNEYS AT LAW
                                                                                                                                                 COMPLAINT
  SAN FRANCISCO                                                                                                                    CASE NO. 3:24-cv-07589-JSC
                         DB1/ 154186909.2
                          Case 3:24-cv-07589-JSC                       Document 29                Filed 01/07/25             Page 4 of 20



                     1                                                    TABLE OF AUTHORITIES
                     2                                                                                                                                     Page(s)
                     3    Cases
                     4
                          Abatie v. Alta Health & Life Ins. Co.,
                     5       458 F.3d 955 (9th Cir. 2006)..................................................................................................... 4

                     6    Agrawal v. Musk,
                             2024 WL 4654442 (N.D. Cal. Nov. 1, 2024).......................................................................... 13
                     7
                          Ashcroft v. Iqbal,
                     8       556 U.S. 662 (2009) .................................................................................................................. 6
                     9    Bakri v. Venture Mfg. Co.,
                    10       473 F.3d 677 (6th Cir. 2007)..................................................................................................... 9

                    11    Bell Atl. Corp. v. Twombly,
                              550 U.S. 544 (2007) .................................................................................................................. 6
                    12
                          Bond v. Marriott Int’l, Inc.,
                    13       637 F. App’x 726 (4th Cir. 2016) ............................................................................................. 9
                    14    Caldwell v. Musk,
                    15       2024 WL 4654272 (N.D. Cal. Nov. 1, 2024).............................................................. 11, 12, 13

                    16    Callan v. Merrill Lynch & Co.,
                             2010 WL 3452371 (S.D. Cal. Aug. 30, 2010) ................................................................ 7, 9, 10
                    17
                          CIGNA Corp. v. Amara,
                    18       563 U.S. 421 (2011) .................................................................................................................. 7
                    19    Colburn v. Hickory Springs Mfg. Co.,
                             448 F. Supp. 3d 512 (E.D.N.C. 2020) ............................................................................. 7, 9, 10
                    20

                    21    Collazo v. Infonet Servs. Corp.,
                             2015 WL 13917163 (C.D. Cal. Apr. 8, 2015) ........................................................................ 10
                    22
                          Demery v. Extebank Deferred Comp. Plan (B),
                    23      216 F.3d 283 (2d Cir. 2000) .................................................................................................... 10
                    24    Depot, Inc. v. Caring for Montanans, Inc.,
                             915 F.3d 643 (9th Cir. 2019)......................................................................................... 6, 11, 12
                    25
                          Duggan v. Hobbs,
                    26
                             99 F.3d 307 (9th Cir. 1996)......................................................................................... 7, 8, 9, 10
                    27
                          Firestone Tire & Rubber Co. v. Bruch,
                    28       489 U.S. 101 (1989) .................................................................................................................. 4
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                 - ii -          MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 ATTORNEYS AT LAW
                                                                                                                                                COMPLAINT
  SAN FRANCISCO                                                                                                                   CASE NO. 3:24-cv-07589-JSC
                         DB1/ 154186909.2
                          Case 3:24-cv-07589-JSC                        Document 29               Filed 01/07/25              Page 5 of 20



                     1    Gabriel v. Alaska Elec. Pension Fund,
                             773 F.3d 945 (9th Cir. 2014)..................................................................................... 6, 7, 10, 11
                     2
                          Great-W. Life & Annuity Ins. Co. v. Knudson,
                     3
                             534 U.S. 204 (2002) .......................................................................................................... 12, 13
                     4
                          McLeod v. Oregon Lithoprint, Inc.,
                     5      102 F.3d 376 (9th Cir. 1996)................................................................................................... 13

                     6    Mertens v. Hewitt Assocs.,
                             508 U.S. 248 (1993) ............................................................................................................ 6, 13
                     7
                          Millsap v. McDonnell Douglas Corp.,
                     8       368 F.3d 1246 (10th Cir. 2004)............................................................................................... 13
                     9
                          Montanile v. Bd. of Trs. of Nat’l Elevator Indus. Health Benefit Plan,
                    10      577 U.S. 136 (2016) ................................................................................................................ 11

                    11    Pane v. RCA Corp.,
                             868 F.2d 631 (3d Cir. 1989) ...................................................................................................... 8
                    12
                          Soule v. Ret. Income Plan for Salaried Emps. of Rexham Corp.,
                    13       723 F. Supp. 1138 (W.D. N.C. 1989) ....................................................................................... 8
                    14
                          Spinelli v. Gaughan,
                    15       12 F.3d 853 (9th Cir. 1993)....................................................................................................... 6

                    16    Teutscher v. Woodson,
                             835 F.3d 936 (9th Cir. 2016)................................................................................................... 13
                    17
                          Verizon Commc’ns Inc. v. Pizzirani,
                    18       462 F. Supp. 2d 648 (E.D. Pa. 2006) ........................................................................................ 8
                    19    Statutes
                    20
                          29 U.S.C. § 1101(a)(1) ................................................................................................................ 7, 8
                    21
                          29 U.S.C. § 1132(a)(3) ...................................................................................................... 2, 3, 6, 14
                    22
                          29 U.S.C. § 1132(a)(3)(B)............................................................................................................... 6
                    23
                          29 U.S.C. § 1140 ............................................................................................................... 2, 3, 6, 14
                    24
                          ERISA § 502(a)(1)(B) ..................................................................................................................... 5
                    25
                          ERISA § 502(a)(3) .................................................................................................................... 6, 12
                    26
                          ERISA § 510 .......................................................................................................................... passim
                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                 - iii -          MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 ATTORNEYS AT LAW
                                                                                                                                                 COMPLAINT
  SAN FRANCISCO          DB1/ 154186909.2                                                                                          CASE NO. 3:24-cv-07589-JSC
                          Case 3:24-cv-07589-JSC                       Document 29               Filed 01/07/25              Page 6 of 20



                     1    Other Authorities
                     2    Fed. R. Civ. P. 12(b)(6) ......................................................................................................... 3, 6, 14
                     3

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                                - iv -           MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 ATTORNEYS AT LAW
                                                                                                                                                COMPLAINT
  SAN FRANCISCO          DB1/ 154186909.2                                                                                         CASE NO. 3:24-cv-07589-JSC
                          Case 3:24-cv-07589-JSC           Document 29        Filed 01/07/25      Page 7 of 20



                     1                         MEMORANDUM OF POINTS AND AUTHORITIES

                     2    I.       INTRODUCTION

                     3             Plaintiff is a former executive of Twitter who served in the role of Chief Marketing Officer

                     4    before Twitter was purchased by entities associated with Elon Musk.               That purchase was

                     5    memorialized in a merger agreement inked on April 25, 2022. The merger agreement contained a

                     6    stand-still provision that, among other things, prohibited increases in compensation to Twitter

                     7    employees except as required pursuant to existing company plans.

                     8             Despite that provision, and contrary to express instructions from the acquiring entities,

                     9    Plaintiff approved sweetheart retention and spot bonuses shortly before the merger closed in
                    10    October 2022, in violation of the merger agreement. A few weeks later, Plaintiff wasted hundreds

                    11    of thousands of dollars by—unnecessarily and without approval—booking private jet travel to and

                    12    from Twitter headquarters on October 26 and 27, 2022. Plaintiff then refused to pay for her

                    13    unapproved private jet travel, resulting in Twitter being sued for such payment and incurring

                    14    additional expense in the process.

                    15             Given her conduct, it should have been no surprise to Plaintiff when she was terminated for

                    16    cause shortly after the Twitter acquisition closed on October 27, 2022. Nevertheless, Plaintiff tries

                    17    to turn her employment termination to her advantage by claiming it entitles her to over $20 million

                    18    in “Deferred Payments” under the Twitter, Inc. Change of Control and Involuntary Termination

                    19    Protection Policy (“Plan”). However, while Plaintiff was one of the select group of highly-
                    20    compensated Twitter executives eligible to participate in the Plan, she was categorically ineligible

                    21    for any Deferred Payments (or other benefits) under the Plan because she was terminated for cause

                    22    within the meaning of the Plan. Simply put, the Plan does not reward executives who willfully

                    23    waste corporate assets by providing improper bonuses to colleagues in violation of a pending

                    24    merger agreement and then spending lavishly on private jets, fully aware that these expenses will

                    25    ultimately be shouldered by the company under “new management.”

                    26             All of this has previously been determined through an extensive administrative process, to

                    27    which the law affords substantial deference. In accordance with that process, Plaintiff submitted a

                    28    claim for benefits under the Plan. Her claim was decided by an independent administrator who was
MORGAN, LEWIS &                                                                       MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                           -1-                                           COMPLAINT
 ATTORNEYS AT LAW
                                                                                                           CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         DB1/ 154186909.2
                          Case 3:24-cv-07589-JSC            Document 29         Filed 01/07/25       Page 8 of 20



                     1    conferred full discretion to interpret the Plan and decide claims for Plan benefits. The Plan

                     2    administrator denied Plaintiff’s claims in detailed decisions, finding she was terminated “for

                     3    Cause” under the Plan and thus ineligible for severance benefits. As is ordinary in benefit-denial

                     4    cases, the central question here is whether the administrative decision was reasonable as opposed

                     5    to an abuse of discretion. That is what Plaintiff’s First Cause of Action concerns, and while it is

                     6    the focus of this litigation, it is not the subject of this Motion.

                     7             Instead, this Motion concerns Plaintiff’s Second Cause of Action, which claims that

                     8    Defendants Elon Musk, X Holdings, X Corp., Lindsay Chapman, Dhruv Batura, and Brian Bjelde

                     9    (the “Count II Defendants”) terminated Plaintiff’s employment for the purpose of interfering with
                    10    her alleged right to severance benefits under the Plan in violation of ERISA § 510, 29 U.S.C. §

                    11    1140. For this claim, Plaintiff requests a variety of purported equitable relief: restitution,

                    12    disgorgement, back pay, front pay, and/or equitable surcharge. But none of this is “appropriate

                    13    equitable relief” under ERISA, so the Second Cause of Action should be dismissed.

                    14             First, “surcharge” is available only to remedy breaches of fiduciary duty under ERISA. But

                    15    the Plan here is a top hat plan applicable to only a select group of top executives and is therefore

                    16    exempt from ERISA’s fiduciary provisions. This precludes any fiduciary-breach claim or any

                    17    award of equitable surcharge based on a fiduciary breach.

                    18             Second, as Judge Chesney has previously held, Plaintiff’s requests for restitution and

                    19    disgorgement require “specifically identifiable property.” But no such “property” is alleged in the
                    20    Complaint or otherwise present here. To the contrary, Plaintiff seeks to recover severance benefits,

                    21    paid from the company’s general assets, which would constitute legal relief—not the sort of

                    22    equitable relief that is uniquely available under 29 U.S.C. § 1132(a)(3).

                    23             Third, as Judge Chesney has also previously concluded with respect to other former Twitter

                    24    executives who have filed similar section 510 claims, Plaintiff’s claim to “front pay” fails because

                    25    she has alleged no reasonable expectation to remaining employed at Twitter long after the

                    26    acquisition and the entry of judgment in this case. Meanwhile, Plaintiff’s related claim to “back

                    27    pay” fails because it is not equitable relief within the meaning of ERISA, as the Supreme Court has

                    28    signaled and other courts have squarely held.
MORGAN, LEWIS &                                                                          MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                             -2-                                            COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                     CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                          Case 3:24-cv-07589-JSC             Document 29       Filed 01/07/25       Page 9 of 20



                     1             For these reasons and as discussed further below, the Court should dismiss the Complaint’s

                     2    Second Cause of Action for failure to state a claim under Rule 12(b)(6).

                     3    II.      ISSUES PRESENTED

                     4             1.       Whether Plaintiff failed to allege a claim for equitable “surcharge” relief under 29

                     5    U.S.C. § 1132(a)(3) for an alleged violation of 29 U.S.C. § 1140 because the Plan is a “top hat”

                     6    plan that is not subject to ERISA’s fiduciary duties.

                     7             2.       Whether Plaintiff failed to allege facts that support her claim for equitable relief

                     8    under 29 U.S.C. § 1132(a)(3) for restitution and disgorgement because she has failed to identify

                     9    any specifically identifiable property that is subject to this claim.
                    10             3.       Whether Plaintiff has failed to allege facts that support her claim for front pay and

                    11    back pay because she had no reasonable expectation to remain employed by Twitter after the

                    12    acquisition and because back pay is not equitable relief under 29 U.S.C. § 1132(a)(3).

                    13    III.     RELEVANT BACKGROUND

                    14             A.       The Plan

                    15             The Plan provided specifically defined severance benefits to a “select group of key Twitter”

                    16    employees who were approved by Twitter’s Compensation Committee and executed participation

                    17    agreements, in the “event their employment is negatively affected by a change of control at

                    18    Twitter.” Dkt. 1-2 at ECF Page 2 of 9. This select group was narrowly limited to members of

                    19    Twitter’s “Staff,” the highest class of executives at Twitter. Compl. ¶ 158. Benefits paid pursuant
                    20    to the Plan are deferred compensation, or “Deferred Payments,” paid by the company directly, as

                    21    opposed to a funded trust, no earlier than 61 days following the participant’s qualifying termination.

                    22    Dkt. 1-2 at ECF Page 7 of 9 (“The cost of the [Plan] is paid by the Company.”); Compl. ¶ 17 (“X

                    23    Corp. serves as the . . . funding source of the Plan.”); Dkt. 1-2 at ECF Page 2 of 9 (Equity “awards

                    24    that vest under this paragraph will be settled on the 61st day following your Qualified Termination;”

                    25    Cash Severance “will be paid in cash and in full on the 61st day following your Qualified

                    26    Termination.”). The “Deferred Payments” provided under the Plan are made in recognition of prior

                    27    service and include an amount equal to the participant’s salary in the year prior to termination, and

                    28    the value of restricted stock units (“RSUs”) previously awarded to the participant subject to a
MORGAN, LEWIS &                                                                         MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                            -3-                                            COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                    CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29        Filed 01/07/25     Page 10 of 20



                     1    vesting schedule that is accelerated by the qualifying termination. Dkt. 1-2 at ECF Page 2 of 9.

                     2             Under the terms of the Plan, these severance benefits were available to participants whose

                     3    employment was ended because of an “Involuntary Termination” during a “Change of Control

                     4    Period.” Dkt. 1-2 at ECF Page 2 of 9. But participants were not eligible for benefits if their

                     5    employment was terminated “for Cause.” Id. at ECF Page 3 of 9. As relevant here, “Cause”

                     6    includes “gross negligence or willful misconduct in the performance of [the employee’s] duties[.]”

                     7    Id. at ECF Page 3 of 9.

                     8             The Plan expressly provides that any designated “Administrator will have full discretion to

                     9    administer and interpret the [Plan],” and that “[a]ny decision made or other action taken by the
                    10    Administrator with respect to the [Plan], and any interpretation by the Administrator of any term

                    11    or condition of the [Plan], or any related document, will be conclusive and binding on all persons

                    12    and be given the maximum possible deference allowed by law.” Id. at ECF Page 5 of 9. Thus, any

                    13    decision by the Administrator is subject to abuse of discretion review in this Court. See, e.g.,

                    14    Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989); Abatie v. Alta Health & Life Ins.

                    15    Co., 458 F.3d 955, 967 (9th Cir. 2006) (“We read Firestone to require abuse of discretion review

                    16    whenever an ERISA plan grants discretion to the plan administrator[.]”).

                    17             B.       Plaintiff, Her Administrative Claim and Appeal, And The Complaint

                    18             Plaintiff is the former Chief Marketing Officer at Twitter. Compl. ¶ 15. On April 25, 2022,

                    19    the merger agreement whereby Musk-related entities agreed to purchase Twitter was executed. Id.
                    20    ¶ 48. Later, in May 2022, Plaintiff signed an agreement to participate in the Plan. Compl. ¶ 156;

                    21    Dkt. 1-3, p. 11 of 11.

                    22             The merger was consummated on October 27, 2022. Compl. ¶ 51. Plaintiff was terminated

                    23    for Cause as of November 1, 2022. Id. ¶ 81.

                    24             On December 8, 2022, Plaintiff submitted, through counsel, a formal claim for benefits

                    25    under the Plan. Compl. ¶ 84. The designated Plan administrator, Lindsay Chapman (“Plan

                    26    Administrator”), denied the claim in a detailed letter dated June 6, 2022. Id. ¶ 86. The Plan

                    27    Administrator concluded that Plaintiff was terminated for “Cause,” within the meaning of the Plan,

                    28    based on gross negligence or willful misconduct “by (1) violating company policy when she
MORGAN, LEWIS &                                                                      MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                          -4-                                           COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                 CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC            Document 29       Filed 01/07/25       Page 11 of 20



                     1    traveled by charter plane to and from Twitter headquarters on October 26 and 27, 2022; (2)

                     2    distributing amongst her team a $285,000 bonus pool that the company had allocated to her

                     3    department; and (3) participating in alleged corporate waste.” Id. ¶¶ 88-90.

                     4             On September 18, 2023, Plaintiff submitted an appeal, arguing that the Plan Administrator

                     5    erred in concluding that she was terminated for Cause. Id. ¶ 99. The appeal was reviewed by the

                     6    Twitter Severance Administration Committee (“Committee”). Id. ¶¶ 166-67. On January 16, 2024,

                     7    the Committee issued a detailed opinion addressing Plaintiff’s arguments and the evidence offered

                     8    in support, and ultimately denying Plaintiff’s appeal. Id.

                     9             Plaintiff then filed the Complaint asserting the following claims:
                    10             Claim for Benefits. In the First Cause of Action, Plaintiff asserts a claim for severance

                    11    benefits under the Plan pursuant to section 502(a)(1)(B) of ERISA. Compl. ¶¶ 202-05. Through

                    12    this claim, Plaintiff seeks an order declaring that the denial of her claim for benefits under the Plan

                    13    was contrary to the terms of the Plan, and further ordering that she be paid severance benefits in

                    14    accordance with the terms of the Plan. Id., Prayer for Relief ¶¶ A-B.

                    15             Claim for Equitable Relief. In the Second Cause of Action, Plaintiff brings a claim under

                    16    section 510 of ERISA to recover from the Count II Defendants “appropriate equitable relief” based

                    17    on the decision to terminate her employment. Compl. ¶¶ 206-11.

                    18             Breach of Contract Claim. In the Third Cause of Action, Plaintiff alleges that Musk, X

                    19    Holdings, and X Corp. breached various agreements by failing to pay Plaintiff certain equity
                    20    awards. Compl. ¶¶ 212-16.

                    21             Breach of the Implied Covenant of Good Faith and Fair Dealing. In the Fourth Cause of

                    22    Action, Plaintiff alleges that Musk, X Holdings, and X Corp. breached an implied duty of good

                    23    faith and fair dealing when failing to pay certain equity awards. Compl. ¶¶ 217-20.

                    24             This Motion addresses only the Second Cause of Action, in which Plaintiff alleges that the

                    25    Count II Defendants terminated her employment “to interfere[] with the attainment of any right to

                    26    which such participant may become entitled under the plan” in violation of ERISA § 510. Compl.

                    27    ¶ 207. Based on this theory, Plaintiff seeks purported “equitable relief,” including restitution,

                    28    disgorgement, back pay, front pay and/or equitable surcharge. Id. ¶ 211 & Prayer for Relief ¶ D.
MORGAN, LEWIS &                                                                        MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                           -5-                                            COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                   CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC            Document 29         Filed 01/07/25       Page 12 of 20



                     1    IV.      THE SECOND CAUSE OF ACTION SHOULD BE DISMISSED BECAUSE
                                   PLAINTIFF’S REQUESTED REMEDIES ARE NOT EQUITABLE OR
                     2             AVAILABLE TO HER

                     3             A.       Legal Standard

                     4             To survive a Rule 12(b)(6) motion to dismiss, a complaint “must contain sufficient factual

                     5    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

                     6    556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). ERISA

                     7    section 510 makes it unlawful to terminate the employment of a plan participant for “the purpose

                     8    of interfering with the attainment of any right to which such participant may become entitled under

                     9    the plan[.]” 29 U.S.C. § 1140. A terminated participant can seek “redress” for an alleged violation

                    10    of section 510 through the enforcement provision prescribed in section 502(a)(3) of ERISA, which

                    11    provides “appropriate equitable relief” to “redress such violations[.]” 29 U.S.C. § 1132(a)(3);

                    12    Spinelli v. Gaughan, 12 F.3d 853, 856 (9th Cir. 1993) (“[S]ection 510 incorporates the remedies of

                    13    section 502, which in turn authorizes an aggrieved participant . . . to bring a civil action . . . to

                    14    obtain . . . appropriate equitable relief[.]”) (citation omitted).

                    15             Claims seeking “equitable relief” that is not properly awarded under ERISA section

                    16    502(a)(3) are properly dismissed under Rule 12(b)(6). See, e.g., Depot, Inc. v. Caring for

                    17    Montanans, Inc., 915 F.3d 643, 665 (9th Cir. 2019) (affirming dismissal because the “plaintiffs

                    18    [were] not seeking ‘appropriate equitable relief’ under 29 U.S.C. § 1132(a)(3)”). An ERISA “claim

                    19    fails if the plaintiff cannot establish . . . that the remedy sought is ‘appropriate equitable relief’

                    20    under [29 U.S.C.] § 1132(a)(3)(B), regardless of whether ‘a remediable wrong has been alleged.’”

                    21    Gabriel v. Alaska Elec. Pension Fund, 773 F.3d 945, 954 (9th Cir. 2014) (quoting Mertens v. Hewitt

                    22    Assocs., 508 U.S. 248, 254 (1993)).

                    23             Here, Plaintiff seeks the following forms of purported equitable relief: restitution,

                    24    disgorgement, back pay, front pay, and/or equitable surcharge. Compl. ¶ 211; Prayer for Relief ¶

                    25    D. Regardless of how a plaintiff characterizes the requested relief, courts must “look to the

                    26    substance of the remedy sought rather than the label placed on that remedy.” Depot, 915 F.3d at

                    27    661 (cleaned up). None of the requested forms of relief are available to Plaintiff as a matter of law,

                    28    and the Second Cause of Action should be dismissed. Fed. R. Civ. P. 12(b)(6).
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 BOCKIUS LLP
                                                                             -6-                                            COMPLAINT
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                         DB1/ 154186909.2                                                                     CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC            Document 29       Filed 01/07/25      Page 13 of 20



                     1                      1.    Surcharge Is Not Available Because The Plan Is Exempt From
                                                  ERISA’s Fiduciary Provisions
                     2

                     3             Although “surcharge” is a form of equitable relief that may properly be awarded in certain

                     4    ERISA cases, this is not one of them. An “equitable surcharge” is available only to remedy a breach

                     5    of fiduciary duty. CIGNA Corp. v. Amara, 563 U.S. 421, 442 (2011) (explaining that a “surcharge”

                     6    is monetary relief that might be “equitable” within the meaning of ERISA, but only when awarded

                     7    to remedy “a breach of trust committed by a fiduciary encompassing any violation of a duty

                     8    imposed upon that fiduciary”); Gabriel, 773 F.3d at 957-58 (same). The Plan is a top hat plan

                     9    exempt from ERISA’s fiduciary provisions, which precludes any fiduciary-breach claim or any

                    10    award of equitable surcharge based on a fiduciary breach, as a matter of law.

                    11             ERISA expressly exempts from its fiduciary provisions plans that provide certain types of

                    12    benefits to high-level employees, commonly known as “top hat” plans. Duggan v. Hobbs, 99 F.3d

                    13    307, 310 (9th Cir. 1996). A top hat plan is any “plan which is unfunded and is maintained by an

                    14    employer primarily for the purpose of providing deferred compensation for a select group of

                    15    management or highly compensated employees.” 29 U.S.C. § 1101(a)(1). Plans that have these

                    16    characteristics are exempted from ERISA’s fiduciary duty (and other) provisions precisely because

                    17    they “only apply to highly paid executives who are in a strong bargaining position relative to their

                    18    employer and, therefore, are generally not in need of ERISA protection.” Callan v. Merrill Lynch

                    19    & Co., 2010 WL 3452371, at *9 (S.D. Cal. Aug. 30, 2010); Colburn v. Hickory Springs Mfg. Co.,

                    20    448 F. Supp. 3d 512, 527 (E.D.N.C. 2020) (“Congress intended to carve out the top hat exemption

                    21    because ‘high-echelon employees . . . are capable of protecting their own pension interests.’”). If

                    22    the Plan qualifies as a top hat plan, then Defendants “cannot be held personally liable for [] breach”

                    23    of ERISA’s fiduciary duties and, by extension, Plaintiffs have no entitlement to equitable surcharge.

                    24    Duggan, 99 F.3d at 310.

                    25             Under the Plan, Plaintiff’s allegations, and documents properly subject to judicial notice,

                    26    the Plan qualifies as a top hat plan.

                    27             First, the Plan is “unfunded” and maintained by an “employer.” Both the Complaint’s

                    28    allegations and the Plan document appended to the Complaint confirm that the cost of the Plan is
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                                                                          -7-                                            COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                  CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29        Filed 01/07/25       Page 14 of 20



                     1    “paid by the Company” and not separately funded. See Compl. ¶ 17 (“X Corp. is the . . . funding

                     2    source of the Plan.”); Dkt. 1-2 at ECF Page 7 of 9 (“The cost of the [Plan] is paid by the

                     3    Company.”). This is the same funding arrangement the Ninth Circuit addressed in Duggan, 99

                     4    F.3d at 309 (holding severance plan was unfunded because “no funds were ever set aside” and the

                     5    company “drew money from its general account to pay [the] benefits under the Agreement”). And

                     6    there is no dispute that X Corp. is an employer within the meaning of ERISA.

                     7             Second, the Plan’s primary purpose and benefit is to provide generous amounts of deferred

                     8    compensation—or “Deferred Payments”—to the small group of employees who are eligible to

                     9    participate and experience a qualifying termination. Dkt. 1-2 at ECF Page 4 of 9. The Ninth Circuit
                    10    has held that severance benefits like those provided under the Plan constitute deferred

                    11    compensation within the meaning of the top-hat exemption “because they provide compensation

                    12    for services substantially after the services were rendered.” Duggan, 99 F.3d at 311.1 That is the

                    13    case here. By definition, the Plan makes its “Deferred Payments” no earlier than 61 days after the

                    14    participant experiences a qualifying termination—that is, long after the relevant “services were

                    15    rendered.” See, e.g., Dkt. 1-2 at ECF Page 2 of 9 (“Your severance payment will be paid in cash

                    16    and in full on the 61st day following your Qualified Termination”). Those Deferred Payments are

                    17    also subject to additional deferral if necessary to avoid adverse tax consequences for the terminated

                    18    participant.2 Id. at ECF Page 4 of 9 (explaining that “Deferred Payments will be delayed to the

                    19    extent necessary to avoid imposition of additional tax imposed under Section 409A, which
                    20    generally means that you will receive payment . . . [approximately] . . . 6 months . . . following your

                    21    1
                           See also id. (citing Pane v. RCA Corp., 868 F.2d 631, 637 (3d Cir. 1989) for the proposition that
                    22    “compensation due under a severance agreement is a form of deferred compensation for the
                          purposes of section 1101(a)(1)”).
                    23    2
                            Moreover, a substantial portion of the Deferred Payments include the accelerated payment of
                    24    RSUs, performance shares, performance units, and other deferred payments for prior service. See
                          Dkt. 1-2 at ECF Pages 2, 8 of 9; see also Verizon Commc’ns Inc. v. Pizzirani, 462 F. Supp. 2d 648,
                    25    652 (E.D. Pa. 2006) (“RSUs and PSUs are units of deferred compensation that an employee may
                          redeem after a vesting period”); Soule v. Ret. Income Plan for Salaried Emps. of Rexham Corp.,
                    26
                          723 F. Supp. 1138, 1141–42 (W.D.N.C. 1989) (“Performance units provide for the Company to
                    27    pay the employee compensation at a future date, the vesting date … The purpose of performance
                          units, like stock options, was to reward executives for the contributions to the company’s future
                    28    success”).
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 BOCKIUS LLP
                                                                           -8-                                            COMPLAINT
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                         DB1/ 154186909.2                                                                   CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29        Filed 01/07/25     Page 15 of 20



                     1    termination of employment”).

                     2             Third, the Plan applied only to “a select group of management or highly compensated

                     3    employees” because Plaintiff and her fellow participants were richly compensated and among

                     4    Twitters’ highest-ranking executives. Duggan, 99 F.3d at 312-13. In evaluating this factor, courts

                     5    typically assess the covered employees from both a quantitative and qualitative perspective. See,

                     6    e.g., Bond v. Marriott Int’l, Inc., 637 F. App’x 726, 729 (4th Cir. 2016) (“[I]n number, the plan

                     7    must cover relatively few employees.         In character, the plan must cover only high level

                     8    employees.”) (quotation omitted); Callan, 2010 WL 3452371, at *10 (applying four factors

                     9    examining “(1) the percentage of total workforce invited to join the plan; (2) the nature of the
                    10    participants’ employment duties; (3) the compensation disparity between top hat plan members and

                    11    non-members; and (4) the actual language of the plan agreement”) (citing Bakri v. Venture Mfg.

                    12    Co., 473 F.3d 677, 680 (6th Cir. 2007)).

                    13             On its face, the Plan here covered only “a select group of key Twitter” employees, who

                    14    were approved by the Compensation Committee of Twitter’s Board of Directors and executed

                    15    participation agreements. Dkt. 1-2 at ECF Page 2 of 9 (emphasis added). This select group was

                    16    composed of the highest class of executives at the company, including Plaintiff, the Chief

                    17    Marketing Officer. Compl. ¶ 15. The Complaint concedes that Plaintiff was a member of “Staff,”

                    18    the highest “executive” classification at Twitter. Compl. ¶ 158; see also, e.g., Compl. ¶¶ 12

                    19    (Plaintiff “sought and received approval from her boss at the time, CEO Agrawal”). “As high-
                    20    ranking employees, they had access to information concerning their rights and obligations, so they

                    21    did not need the extra protections afforded by ERISA.” Colburn, 448 F. Supp. 3d at 527.

                    22             The Plan thus applied only to a tiny fraction of Twitter’s workforce. In the months leading

                    23    up to the merger, there were no more than ten members of Staff—and thus ten participants in the

                    24    Plan. See Compl. ¶¶ 31, 56-57; Agrawal, et al. v. Musk, et al., Compl. ¶¶ 10-12, No. 3:24-cv-

                    25    01304-MMC, Dkt. 1 (N.D. Cal. Mar. 4, 2024); Caldwell v. Musk, et al., Compl. ¶¶ 20, 24, No.

                    26    3:24-cv-02022-MMC, Dkt. 1 (N.D. Cal. Apr. 3, 2024); Personette v. Musk, et al., Compl. ¶ 26, No.

                    27    3:24-cv-06266, Dkt. 1 (N.D. Cal. Sept. 5, 2024). Plan participants therefore constituted only around

                    28    0.13% of Twitter’s workforce of “over 7,500 full-time employees.” See Declaration of Abbey
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 BOCKIUS LLP
                                                                          -9-                                           COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                 CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29        Filed 01/07/25       Page 16 of 20



                     1    Glenn (“Glenn Decl.”), Ex. 1 (Twitter 2022 Form 10-K) at 16/156. This is a far more “select group”

                     2    than other courts have deemed sufficient to satisfy ERISA’s top-hat exemption. See, e.g., Duggan,

                     3    99 F.3d at 312 (holding severance agreement that applied to less than 5% of the workforce was a

                     4    top hat plan); Demery v. Extebank Deferred Comp. Plan (B), 216 F.3d 283, 289-90 (2d Cir. 2000)

                     5    (holding that deferred compensation plan that was limited to just 15.34% of workforce constituted

                     6    a top hat plan).

                     7             Plaintiff and her fellow participants were also highly compensated, by any measure. For

                     8    example, Plaintiff claims the Plan entitled her to a Deferred Payment that included her one-year

                     9    salary of $600,000 (Compl. ¶ 204), which alone is more than 260% of the median amount earned
                    10    by all Twitter employees ($232,626), even before accounting for the roughly $19,000,000 in

                    11    Plaintiff’s RSUs or other deferred compensation included in the Deferred Payment amount. Glenn

                    12    Decl., Ex. 2 (Twitter May 25, 2022 Proxy Statement) at 74/89; Compl. ¶ 204 (alleging that Plaintiff

                    13    is entitled to “an amount exceeding $20,000,000” that is based on one-year’s salary of $600,000

                    14    plus 50% of the cash value of Plaintiff’s unvested RSUs and other deferred compensation). Other

                    15    Plan participants earned a great deal more. Id. at 73/89 (identifying the total compensation in 2021

                    16    earned by three other Plan participants: e.g., Agrawal earned $30,351,152, Segal earned

                    17    $18,907,232, and Gadde earned $16,957,785). Thus, there is no question that Plan participants

                    18    were “highly compensated” within the meaning of the top hat exemption. See, e.g., Colburn, 448

                    19    F. Supp. 3d at 527 (plan participants whose “salaries were more than twice the average salary of
                    20    the employees who did not participate” in the plan were highly compensated); Callan, 2010 WL

                    21    3452371, at *11 (“courts have found that a 2:1 disparity is sufficient to satisfy this prong of the

                    22    test”) (collecting cases).

                    23             In short, under the Plan, Plaintiff’s allegations, and judicially noticeable documents, the

                    24    Plan qualifies as a top hat plan that is exempt from ERISA’s fiduciary provisions. See Collazo v.

                    25    Infonet Servs. Corp., 2015 WL 13917163, at *5 (C.D. Cal. Apr. 8, 2015) (“[A]ccepting all of

                    26    Plaintiffs’ alleged facts as true, there is no dispute that the Retirement Plan meets the definition of

                    27    a top hat ERISA plan.”); Duggan, 99 F.3d at 310. Plaintiff’s request for surcharge, which is

                    28    available only for a breach of fiduciary duty, must be dismissed.
MORGAN, LEWIS &                                                                        MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                          - 10 -                                          COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                   CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC             Document 29          Filed 01/07/25      Page 17 of 20



                     1                      2.     Plaintiff’s Claims For Restitution And Disgorgement Are Not
                                                   Appropriate Equitable Relief
                     2

                     3             Despite Plaintiff’s label, “not all relief falling under the rubric of restitution is available in

                     4    equity.” Gabriel, 773 F.3d at 954 (citation omitted). Restitution in equity is available only “where

                     5    money or property identified as belonging in good conscience to the plaintiff could clearly be traced

                     6    to particular funds or property in the defendant’s possession.” Id. at 954-55; see also Depot, 915

                     7    F.3d at 663; Caldwell v. Musk, 2024 WL 4654272, at *3 (N.D. Cal. Nov. 1, 2024). By contrast,

                     8    restitution at law is where the plaintiff “cannot assert title or right to possession of particular

                     9    property” and instead seeks to recover “money to pay for some benefit the defendant received from

                    10    the plaintiff.” Depot, 915 F.3d at 661 (citation omitted). In other words, where, as here, a plaintiff

                    11    seeks recovery out of the defendant’s general assets, the plaintiff is seeking legal restitution—not

                    12    equitable restitution. Id.; Montanile v. Bd. of Trs. of Nat’l Elevator Indus. Health Benefit Plan, 577

                    13    U.S. 136, 145 (2016) (recovery from a defendant’s general assets “is a legal remedy, not an

                    14    equitable one.”); Caldwell, 2024 WL 4654272, at *4 n.3 (“[A]s Caldwell does not allege the value

                    15    of vested shares he seeks ever ‘existed as a distinct object or fund,’ a judgment awarding him the

                    16    value of the vested shares ‘would have no connection to any particular fund,’ i.e., it would be

                    17    ‘restitution at law, not equity’”) (quoting Depot, 915 F.3d at 662).

                    18             In Depot, the Ninth Circuit affirmed dismissal of a claim relating to health insurance

                    19    premium surcharges because the plaintiffs’ request for restitution was legal in nature. 915 F.3d at

                    20    662. While the plaintiffs sought to recover amounts equal to the premium surcharges they had paid

                    21    on the theory that the surcharges constituted unreasonable compensation under ERISA, the

                    22    surcharges “never existed as a distinct object or fund” but rather reflected a “specific amount of

                    23    money encompassed within a particular fund.” Id. (citation omitted). Consequently, the Ninth

                    24    Circuit held that the plaintiffs had failed to allege a specific, identifiable fund to which they were

                    25    entitled, as required for equitable restitution. Id.

                    26             The same is true here, as Judge Chesney concluded in Caldwell. The Complaint alleges

                    27    that Plaintiff brings this action “for interference with her rights to her severance benefits in violation

                    28    of ERISA Section 510.” Compl. ¶ 13, Prayer for Relief ¶¶ A-B. But, like the complaint in
MORGAN, LEWIS &                                                                          MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                             - 11 -                                         COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                     CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29         Filed 01/07/25      Page 18 of 20



                     1    Caldwell, the Complaint here does not allege that Plan benefits are “specifically identifiable funds”

                     2    in the Count II Defendants’ possession to which Plaintiff is entitled. See Depot, 915 F.3d at 661-

                     3    62; Caldwell, 2024 WL 4654272, at *4; see also Montanile, 577 U.S. at 145 (“Equitable remedies

                     4    are, as a general rule, directed against some specific thing; they give or enforce a right to or over

                     5    some particular thing ... rather than a right to recover a sum of money generally out of the

                     6    defendant’s assets.”) (internal quotations and citation omitted). Indeed, the Plan makes clear that

                     7    severance benefits are paid from company assets. Compl. ¶ 17 (“X Corp. is the . . . funding source

                     8    of the Plan.”); Dkt. 1-2 at ECF Page 7 of 9 (“The cost of the [Plan] is paid by the Company.”);

                     9    Caldwell, 2024 WL 4654272, at *4. Thus, as in Depot and Caldwell, if Plaintiff were to prevail on
                    10    her ERISA § 510 claim, any recovery of Plan benefits would necessarily be paid by X Corp. from

                    11    its general assets. And because such recovery would constitute legal restitution, it is simply not

                    12    available under section 502(a)(3). Depot, 915 F.3d at 662; Caldwell, 2024 WL 4654272, at *4.

                    13             Plaintiff’s request for disgorgement fails for the same reason. Disgorgement is simply a

                    14    form of restitution “measured by the defendant’s wrongful gain rather than by the plaintiff’s loss.”

                    15    Depot, 915 F.3d at 663 (internal quotations and citation omitted). But like restitution, equitable

                    16    disgorgement is only “available when the plaintiff is entitled to a constructive trust on particular

                    17    property held by the defendant that allows the plaintiff to recover profits produced by the

                    18    defendant’s use of that property.” Id. (quoting Great-W. Life & Annuity Ins. Co. v. Knudson, 534

                    19    U.S. 204, 214 n.2 (2002)) (internal quotations omitted; emphases added); Caldwell, 2024 WL
                    20    4654272, at *4 (disgorgement “requires a showing that the defendant possesses ‘specific property

                    21    from which proceeds or profits derived’”) (quoting Depot, 915 F.3d at 664-65). Here again, the

                    22    Complaint does not allege any “particular property” held by the Count II Defendants. “Given the

                    23    absence of any particular property in this case, [Plaintiffs’] request for disgorgement is not equitable

                    24    in nature,” and should therefore be dismissed. Depot, 915 F.3d at 664; see also Caldwell, 2024

                    25    WL 4654272, at *4 (dismissing request for disgorgement where plaintiff did “not allege the vested

                    26    shares he seeks to recover are held by X, or by Musk”).

                    27

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MORGAN, LEWIS &                                                                        MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                           - 12 -                                         COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                   CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29        Filed 01/07/25     Page 19 of 20



                     1                      3.    The Complaint’s Allegations Demonstrate That Plaintiff Cannot
                                                  Recover Front Pay Or Back Pay
                     2

                     3             Plaintiff’s request for front pay likewise falls short. Even assuming that front pay may

                     4    constitute “appropriate equitable relief” under section 502(a)(3) in certain cases, Plaintiff’s own

                     5    allegations confirm this is not one of them. Front pay is a forward-looking remedy, measured by

                     6    the amount the plaintiff was “reasonably certain” to earn through continued employment with the

                     7    employer beyond the trial date, “but for [her] wrongful discharge” (minus earnings she could have

                     8    obtained through alternative employment). Teutscher v. Woodson, 835 F.3d 936, 948 (9th Cir.

                     9    2016). “To establish entitlement to front pay, a plaintiff must show ‘the salary [she] was reasonably

                    10    certain to have earned but for his wrongful discharge [and] the period over which [s]he would have

                    11    earned that salary.’” Caldwell, 2024 WL 4654272, at *4 (quoting Teutscher, 835 F.3d at 948).

                    12             But here, Plaintiff has not plausibly alleged any expectation of remaining employed at

                    13    Twitter following the October 2022 acquisition—let alone for years into the future and beyond any

                    14    trial and judgment in this case. If anything, Plaintiff alleges that her employment at Twitter post-

                    15    acquisition was in doubt, given that other executives were terminated, as is common following any

                    16    public-to-private corporate acquisition. Compl. ¶ 56. Thus, Plaintiffs’ own allegations refute any

                    17    suggestion that she could be entitled to front pay for her section 510 claim. Caldwell, 2024 WL

                    18    4654272, at *4 (concluding plaintiff failed to plead entitlement to front pay because he did not

                    19    allege “that had he not been terminated by Musk, he would have continued to work for X for any

                    20    significant period of time thereafter, . . . a threshold showing he must make.”); Agrawal v. Musk,

                    21    2024 WL 4654442, at *4 (N.D. Cal. Nov. 1, 2024) (same).

                    22             Nor can Plaintiff recover “back pay” because it is simply not equitable relief under ERISA.

                    23    Dkt. 1, Prayer for Relief, ¶ D. Back pay is a form of compensatory damages that cover the period

                    24    before the entry of judgment. See Teutscher, 835 F.3d at 946 (“[c]ompensatory damages under

                    25    California law thus may include as ‘backpay’ an award of ‘lost-wages damages through the time

                    26    of trial’”). Equitable relief under ERISA cannot include compensatory damages. See id. (“ERISA

                    27    section 510 does not provide compensatory damages”); McLeod v. Oregon Lithoprint, Inc., 102

                    28    F.3d 376, 378 (9th Cir. 1996); Mertens, 508 U.S. at 255–56. Although the Ninth Circuit has not
MORGAN, LEWIS &                                                                      MOTION TO DISMISS SECOND CAUSE OF ACTION OF
 BOCKIUS LLP
                                                                          - 13 -                                        COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                 CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
                         Case 3:24-cv-07589-JSC           Document 29       Filed 01/07/25      Page 20 of 20



                     1    directly addressed whether back pay is available as equitable relief in the context of a claim under

                     2    ERISA § 510, the Tenth Circuit has concluded that back pay is not available. See Millsap v.

                     3    McDonnell Douglas Corp., 368 F.3d 1246, 1260 (10th Cir. 2004). Citing the Supreme Court’s

                     4    decision in Great-W. Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 218, n. 4 (2002), the Tenth

                     5    Circuit held that the “Plaintiffs’ freestanding claim for backpay-legal relief-is accordingly

                     6    precluded by § 502(a)(3)’s plain terms.” Id. The same result is appropriate here.

                     7    V.       CONCLUSION

                     8             The Court should dismiss Plaintiff’s claim brought pursuant to 29 U.S.C. §§ 1132(a)(3) and

                     9    1140, the Complaint’s Second Cause of Action, pursuant to Rule 12(b)(6).
                    10

                    11    Dated: January 7, 2025                      Respectfully submitted,

                    12

                    13                                                MORGAN, LEWIS & BOCKIUS LLP

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 BOCKIUS LLP
                                                                         - 14 -                                         COMPLAINT
 ATTORNEYS AT LAW
                         DB1/ 154186909.2                                                                 CASE NO. 3:24-cv-06266-JSC
  SAN FRANCISCO
